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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                         MISSOULA DIVISION


JANET HEINZE,                                     CV 16–104 –M–DWM

                    Plaintiff,
                                                          ORDER
       vs.

PAN-AMERICAN LIFE INSURANCE
COMPANY and JOHN DOES 1-4,

                    Defendants.

     The parties having filed a stipulation for dismissal pursuant to Rule 41(a),

     IT IS ORDERED that the above-captioned cause is DISMISSED WITH

PREJUDICE, each party to pay its own costs. All pending motions are MOOT

and all deadlines are VACATED.

     DATED this 12th day of October, 2016.
